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 1                       UNITED STATES DISTRICT COURT

 2               FOR THE SOUTHERN DISTRICT OF CALIFORNIA

 3

 4   UNITED STATES OF AMERICA,     .
                                   .
 5                Plaintiff,       .    No. 18-cr-4683-GPC
                                   .
 6                     v.          .    May 12, 2022
                                   .    3:00 p.m.
 7   JACOB BYCHAK,                 .
     MARK MANOOGIAN,               .
 8   MOHAMMED ABDUL QAYYUM,        .
     PETR PACAS,                   .
 9                                 .
                  Defendants.      .    San Diego, California
10   . . . . . . . . . . . . . . . .

11
                        TRANSCRIPT OF MOTION HEARING
12                  BEFORE THE HONORABLE GONZALO P. CURIEL
                         UNITED STATES DISTRICT JUDGE
13

14

15   APPEARANCES:

16   For the Plaintiff:       United States Attorney's Office
                              By: SABRINA L. FEVE, ESQ.
17                                MELANIE K. PIERSON, ESQ.
                                  CANDINA S. HEATH, ESQ.
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                              San Diego, California 92101
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     For the Defendant        Wiechert, Munk & Goldstein, PC
20   JACOB BYCHAK:            By: DAVID W. WIECHERT, ESQ.
                                  JESSICA C. MUNK, ESQ.
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                              San Juan Capistrano, California 92675
22
     For the Defendant        Mintz Levin
23   MARK MANOOGIAN:          By: RANDY K. JONES, ESQ.
                                   RYAN T. DOUGHERTY, ESQ.
24                                 DANIEL J. GOODRICH, ESQ.
                              3580 Carmel Mountain Road, Suite 300
25                            San Diego, California 92130
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 1   APPEARANCES (CONTINUED):

 2

 3   For the Defendant        Bienert Katzman Litrell Williams LLP
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 5

 6   For the Defendant        Bird Marella
     PETR PACAS:              By: GARY S. LINCENBERG, ESQ.
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25   Reported by Stenotype, Transcribed by Computer
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 1              SAN DIEGO, CALIFORNIA; MAY 12, 2022; 3:00 P.M.

 2                                   -o0o-

 3               THE CLERK:    Calling matter two on calendar,

 4   18-cr-4683, United States of America v. Jacob Bychak, Mark

 5   Manoogian, Mohammed Abdul Qayyum, and Petr Pacas, for motion

 6   hearing.

 7               THE COURT:    Appearances, please.

 8               MS. MUNK:    Good afternoon, Your Honor.    Jessica Munk

 9   and David Wiechert on behalf of Jacob Bychak, who is present in

10   court.

11               THE COURT:    Good afternoon.

12               MR. JONES:    Good afternoon, Your Honor.   Randy Jones,

13   Dan Goodrich and Ryan Dougherty, all appearing via telephone,

14   on behalf of Mark Manoogian, who is present in court.

15               THE COURT:    Good afternoon.

16               MS. BERNSTEIN:   Good afternoon, Your Honor.    Whitney

17   Bernstein and Leah Thompson, who is a paralegal with our firm,

18   on behalf of Mohammed Abdul Qayyum, who is present in court.

19               THE COURT:    Good afternoon.

20               MR. PATRICK:   Good afternoon, Your Honor.    Darren

21   Patrick and colleagues Gary Lincenberg and Alexis Wiseley, on

22   the telephone, on behalf of Petr Pacas, who is also present.

23               THE COURT:    Good afternoon to all the defendants, all

24   counsel on behalf of the defense.

25        And on behalf of the United States?
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 1              MS. PIERSON:   Melanie Pierson, Candi Heath, and

 2   Sabrina Feve.

 3              THE COURT:   Good afternoon to you all.

 4        We are here on a couple of matters, at least a couple of

 5   matters.   We have pending a motion in limine to exclude

 6   testimony of witnesses Benkert and Kinrich.      This is a motion

 7   that was originally filed in camera.     Upon my review of the

 8   motion, it became obvious, clear, that we could not proceed on

 9   the motion in the manner proposed, in camera, ex parte, just

10   allowing one party, one side of the listed parties to present

11   the motion without providing some opportunity to the government

12   to file a response, which they now have.

13        And so, basically, at this point, we are in the same place

14   that we were at the last hearing; that is, the defense making

15   certain assertions and the government denying them.       There's no

16   question that Mr. Bychak and company entered a joint defense

17   agreement.    There's no question that Mr. Bychak was interviewed

18   by David Benkert and Jeffrey Kinrich.     They are accounting

19   experts retained by Company A to rebut government estimates as

20   to revenue generated by the alleged 11 hijacked netblocks.

21        What is disputed is whether or not presentations,

22   information that was thereafter collected and presented to the

23   government was in any meaningful sense prepared as a result of

24   the interviews by David Benkert and Jeffrey Kinrich of

25   Mr. Bychak.    It is reported that these reports or presentations
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 1   of Benkert and Kinrich were produced back in July of 2020, and,

 2   unfortunately, issues related to these presentations were not

 3   raised until just recently.

 4        All of this comes down to the basic core question of

 5   whether or not the information derived from Mr. Bychak made its

 6   way into these presentations.     Both parties take opposing

 7   views.   If not as a threshold matter, as a starting point, the

 8   government points to the fact that, unbeknownst to them, they

 9   were unaware of a joint defense agreement, and, as such, they

10   had no way of knowing that there would be a claim down the pike

11   that information provided to the government in order to address

12   the amount of income generated by these netblocks would somehow

13   or another implicate a joint defense agreement.

14        And the Court agrees with that.

15        We see, in the defense papers, a number of accusations

16   being leveled and lodged against the government as to how what

17   we are dealing with now is further evidence of prosecutorial

18   misconduct.   At the same time, there is no indication that the

19   government was made aware of the joint defense agreement, and

20   it was not until, reportedly, the government made reference to

21   these witnesses that the matter was raised initially in camera,

22   ex parte.   So this is our first opportunity to have both

23   parties, both sides heard from, as it relates to this.

24        But it strikes the Court that what we need here, which is

25   what we saw in the case relied upon by the defense, Schwimmer,
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 1   is an evidentiary hearing.    In Schwimmer, the district court

 2   found that the references that were otherwise privileged were

 3   negligible, and since the documents delivered to the government

 4   were merely tax returns and schedules related to bank accounts,

 5   there was no invasion of the defense camp.      The Second Circuit

 6   observed that, based on the documentation available to it, the

 7   district court should have conducted an evidentiary hearing to

 8   determine whether the government's case was in any respect

 9   derived from the violation of the attorney-client privilege.

10        Here, that wouldn't be the purpose of the motion so much

11   as to find out whether or not these experts relied in some way,

12   in a meaningful way, on the information derived from

13   Mr. Bychak.   The defense asserts that there was no way for

14   Benkert to determine directly the internal email revenue given

15   that Company A did not directly track internal email revenue

16   during the relevant period.    Instead, it is anticipated that

17   Mr. Benkert was only able to arrive at his calculations and his

18   opinions based upon Mr. Bychak's privileged interview.

19        I know the government responds that these witnesses

20   pooh-pooh this idea and observe that Mr. Bychak either was not

21   credible or that they did not attach much weight to what he had

22   to say.

23        But it seems like, at this point, what we should do is

24   have both of these individuals come in, and then they can be

25   examined, and then the Court will have a complete record.
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 1   That's how I propose to go forward.     We can have a hearing next

 2   week.   And then, at that point, we will see where things stand.

 3        So, are the parties available next Wednesday, the 18th, at

 4   2:00 p.m.?

 5              MS. PIERSON:   No, Your Honor.    I have a doctor's

 6   appointment then.

 7              THE COURT:   How about the morning, at 9:00 a.m.?

 8              MS. PIERSON:   Yes.

 9              THE COURT:   Is the defense available at 9:00 a.m.?

10              MS. MUNK:    Yes, Your Honor.

11              MR. JONES:   9:00 a.m., on Thursday, Your Honor, the

12   18th, I am available.

13              THE COURT:   Okay.

14              MR. JONES:   This is Randy Jones.

15              THE COURT:   Yes, sir.

16        So, then, that's what we will do on this motion.       We will

17   proceed with a hearing.    We will hear from both these

18   gentlemen, Benkert and Kinrich.

19        And then we also have pending the motion to dismiss based

20   on the Fourth Amendment.    The order is being finalized at this

21   moment, but I guess I will give you the ending.      The motion is

22   denied.   And, most notably, the Court is not prepared to find

23   that C.Y. was a government actor.     There's nothing, in the

24   Court's view, besides conjecture or speculation to support

25   that.
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 1        In addition, we do a little bit of reviewing of the 11

 2   emails themselves, whether or not all four defendants have

 3   shown that they had an interest that society is prepared to

 4   acknowledge or recognize, and the Court goes through how

 5   there's a number of defendants who -- well, Mr. Manoogian, for

 6   example, from what we have in the record, does not appear to

 7   have been a recipient or sender of any of the 11 emails.       There

 8   are others who have two or three that were directed to them,

 9   but there were also emails where C.Y. was identified as a

10   sender or recipient; and given those circumstances, as to those

11   emails where C.Y. was identified as a sender or recipient, the

12   Court is not prepared to find that society would afford a right

13   under the Fourth Amendment to challenge those emails.

14        And so then we have, I think, the motion on

15   authentication.   I am not going to take that up today.

16        And then do we have any other pending motions that I have

17   not mentioned?

18             MS. PIERSON:    We have not received any reciprocal

19   discovery yet.

20             THE COURT:    I understand that is not that uncommon in

21   any case with a criminal defendant.

22        Is there any?

23             MS. MUNK:    Yes, Your Honor.   We actually do plan to

24   file -- I think we are filing a list today.      I think there's

25   approximately 164 exhibits on it.     And then there are some
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 1   additional reciprocal discovery that the government doesn't

 2   have that we are producing as part of that, so they should

 3   receive it by the end of the day.

 4             THE COURT:    There you have it.

 5             MS. BERNSTEIN:     And Your Honor, so it's clear, we

 6   made an over-1,000-page reciprocal discovery production a while

 7   ago.   That is not true.    We have produced reciprocal discovery.

 8             MS. PIERSON:     What they produced in reciprocal

 9   discovery was the copies of legal decisions, Bates stamped,

10   which seemed like not reciprocal discovery to me.

11             THE COURT:    Is that what you have provided

12   previously?

13             MS. BERNSTEIN:     I don't know what the substance was,

14   but it was over 1,000 pages.     So that is fine if they take

15   issue with what was produced, but it is not accurate to tell

16   Your Honor we never produced anything when we have.       It was the

17   subject of a motion in limine.     I just wanted the record to be

18   clear that we have provided reciprocal discovery.

19             THE COURT:    Do you have 1,000 pages of case law?

20             MS. FEVE:    Your Honor, we have 1,000 pages of case

21   law, legislative history, and regulatory filings.      We have no

22   evidence in this case.

23             MS. BERNSTEIN:     So, again, we are -- again, we are

24   producing additional stuff today pursuant to the Court's order

25   last week.    It has taken a while to get that Bates stamped and
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 1   out the door, but I wanted the record to be clear about our

 2   compliance with Rule 15.

 3              THE COURT:   So, let me do this.    Given that you have

 4   presented 1,000 pages of case law and legislative history, let

 5   me ask the defense to submit something which would show the

 6   Court why any of that would be admissible at trial.

 7              MS. BERNSTEIN:    And we would be filing that with Your

 8   Honor in camera?

 9              THE COURT:   You could, because, at this point, I am

10   not inclined to have the jury receive thousands or hundreds of

11   pages or even dozens of pages of case law.

12        To the extent that the Court is the one that determines

13   what the applicable law is, the Court will advise the jury what

14   the law is, and so that will not be something that the jury

15   decides.   I know there's a number of issues that are hotly

16   contested, including the question of what qualifies as

17   property, whether IP netblocks qualify, and there are

18   instructions that certainly we will have to provide to the jury

19   that provides some guidance in what they are to consider.        So I

20   am certain that that is one of the -- if not challenges, one of

21   the obligations that we will be fulfilling as we go forward.

22        As a threshold matter, I do not intend to permit

23   legislative history for any law or cases to be sent back to the

24   jury.   If you have authorities where that has happened, I would

25   welcome the defense filing those so that I can be privy, I can
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 1   see what they are.     But those are my general thoughts regarding

 2   that reciprocal discovery.

 3              MS. FEVE:    Your Honor, I just had one housekeeping

 4   matter for you when you are finished dealing with the

 5   reciprocal discovery.

 6              THE COURT:    I think I am finished.

 7              MS. FEVE:    Neither party has filed a motion in limine

 8   on it, but I wanted to ask the Court, so that both sides are on

 9   notice, what is the Court's policy with regard to PowerPoints,

10   both in opening and at closing?       Particularly at opening,

11   because we recognize no evidence will have been admitted.        But

12   are the parties permitted to present a PowerPoint?       And if so,

13   what is the Court's policy about identifying exhibits in

14   advance and in what format, so the PowerPoints can be relied on

15   and prepared?

16              THE COURT:    All right.   To the extent that the

17   parties meet and confer and exchange any proposed PowerPoints

18   and are agreeable that the contents of those PowerPoints are

19   properly displayed to the jury, I am more than happy to accept

20   the stipulation or that agreement to proceed in that way.

21        To the extent that one side or the other wishes to include

22   in their opening PowerPoint presentation -- which I am amenable

23   to, I am agreeable to, as long as the substance can be agreed

24   upon -- but if the parties don't agree, and you believe that

25   you are entitled to make that offering in your opening via
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 1   PowerPoint, then, as we have seen, by default, it comes to me.

 2        Again, I invited you to meet and confer, to work out as

 3   many of these things between yourselves, because there's enough

 4   matters that have already been placed on the Court's plate.        I

 5   expect that there will be more things placed on the Court's

 6   plate that I will have to deal with.      But to the extent that

 7   you can streamline some of this, that you can work this out

 8   between yourselves, that will be of great assistance to the

 9   Court, and it will hopefully allow us to have this trial

10   concluded within four or five -- no more than six weeks,

11   because, frankly, that's still a concern of mine.       And I think

12   it should be a concern for all of us because, right now, with

13   the surge in COVID cases, it may be very difficult to keep our

14   jury all safe -- and yourselves, for that matter -- for an

15   entire five- or six-week period.     So it behooves us all to be

16   as efficient as we can be.

17              MS. PIERSON:   I would like to ask a question about

18   the hearing that the Court has just suggested we have on

19   Wednesday.   I am assuming that, since the defense is the

20   proponent of the motion, they will be calling Mr. Benkert and

21   Mr. Kinrich, and they will be doing the direct examination?

22              THE COURT:   I think under the law it is the defense

23   that has the laboring oar, has the burden to establish that

24   there's a privilege, that it has been violated, and so I agree.

25        But I will ask that, since I have the government as
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 1   calling these individuals as witnesses, that you let them know

 2   when you subpoena them.

 3        Or you can, Ms. Munk.

 4               MS. MUNK:    I would request the government have them

 5   present.    They are now on the government's expert witness list.

 6               THE COURT:    I will ask the government to arrange for

 7   them to be present.

 8               MS. PIERSON:   We will do our best.    They are in

 9   Los Angeles and not San Diego.

10               THE COURT:    We can issue a subpoena.

11               MS. PIERSON:   We will do our best.

12        So will the defense be issuing a subpoena?

13               MS. MUNK:    I was going to let the government call

14   them, Your Honor.    Do we need to issue a subpoena for the

15   government's witnesses?

16               THE COURT:    I will ask the government to issue a

17   subpoena.

18               MS. MUNK:    Thank you, Your Honor.

19               THE COURT:    Is there anything else for us to address

20   at this moment?

21               MS. BERNSTEIN:   This one should be easy, Your Honor.

22        We have a combined trial tech who is going to be assisting

23   all defense.    We would like if he can sit at the end of the

24   table, and we will need a monitor for him.        So I don't know if

25   extra monitors are coming, or if we can be permitted to have
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 1   him bring his own monitor, which would require a court order

 2   for him to get through security.

 3               THE COURT:   Let me ask my clerk to follow up with IT.

 4   We will need another monitor.

 5        And let me also -- to the extent that I hadn't previously

 6   asked him -- I know there was a question of the additional

 7   table.    As far as the attorneys that will be seated right there

 8   ahead of the bar, they can bring their little portable desks or

 9   tables.    And then, as to here, I think there was a question of

10   how many we would be able to fit in this L configuration, and

11   let me ask my clerk.

12               THE CLERK:   I tried to do it.    It was pretty tight,

13   depending how close they want to sit near each other.       And I

14   have procurement looking for more chairs if they want to use

15   them with the small chairs.

16               THE COURT:   That might make more sense, rather than

17   importing another table.     It seems hard to imagine we will have

18   room to have another table back there; whereas, your proposal

19   about having attorneys seated at the different chairs with

20   their collapsable desk, that makes the most sense.

21               MS. BERNSTEIN:   That's fine.    We will need the trial

22   tech to be provided a monitor, or we can provide one, but we

23   would need an order.

24               THE COURT:   I expect IT possibly has one, and it

25   works out probably better for them to have something that they
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 1   already know works with our system.

 2              THE CLERK:   I already reached out with Bruno, and he

 3   is going to reach out to me tomorrow or next week.

 4              MS. BERNSTEIN:    We can follow up next week.

 5        And the next is to request a copy of the juror

 6   questionnaires.

 7              THE COURT:   Yes.   We have a copy for you all right

 8   there, so you can take your respective copy.

 9        And then what we can do next Wednesday, after we are done

10   with the hearing on these two witnesses, we can begin the

11   process of seeing where things stand as to excuse for cause or

12   any other matters that relate to these jurors who have provided

13   questionnaires and who have indicated that, at least as of the

14   time that they submitted those, that they were available for up

15   to a six-week trial.    All right?

16        Anything else?

17              MR. JONES:   Your Honor, with respect to the jury

18   questionnaire, I am going to have Mr. Manoogian pick it up

19   since we are not in court.     Is that okay?

20              THE COURT:   Yes, it is all right, Mr. Jones.

21        Anything else?

22              MS. PIERSON:   I was having difficulty hearing

23   Mr. Jones.

24              THE COURT:   He asked if we would allow his copy to be

25   picked up by Mr. Manoogian, and yes, we will provide him with
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 1   that copy.

 2        So, then, that concludes these proceedings.       We will see

 3   you next Wednesday.      Take care.

 4        (End of proceedings at 3:27 p.m.)

 5                                    -o0o-

 6                           C-E-R-T-I-F-I-C-A-T-I-O-N

 7

 8                 I hereby certify that I am a duly appointed,

 9   qualified and acting official Court Reporter for the United

10   States District Court; that the foregoing is a true and correct

11   transcript of the proceedings had in the aforementioned cause;

12   that said transcript is a true and correct transcription of my

13   stenographic notes; and that the format used herein complies

14   with rules and requirements of the United States Judicial

15   Conference.

16                  DATED:    May 20, 2022, at San Diego, California.

17

18                                  /s/ Chari L. Bowery
                                    _______________________________
19                                  Chari L. Bowery
                                    CSR No. 9944, RPR, CRR
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